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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 PRINCESS DENNAR                                              CIVIL ACTION

 VERSUS                                                       NO: 20-2679
 TULANE EDUCATIONAL FUND                                      SECTION: “T” (4)


                 NOTICE REGARDING ORAL ARGUMENT REQUEST

       Request for oral argument has been filed (R. Doc. 47) in conjunction with a MOTION TO

Dismiss for Failure to State a Claim (R. Doc. 43) scheduled for submission before the district

judge in this matter. Notwithstanding Local Rule 78.1, this Court will issue an order setting oral

argument for a specific date and time if the Court grants the request. Counsel should not appear

for oral argument until ordered to do so. Deadlines for response memoranda are not extended--

those deadlines are based on the noticed submission date and are governed by the Local Rules.

       THIS NOTICE DOES NOT APPLY TO PROCEEDINGS BEFORE THE ASSIGNED

MAGISTRATE JUDGE.

                                             DEDRA D. PONGRACZ, FOR THE COURT
                                             CASE MANAGER SECTION “T”
                                             dedra_pongracz@laed.uscourts.gov
